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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


BRISTOL-MYERS SQUIBB COMP ANY and
PFIZER INC.,

       Plaintiffs and Counterclaim-Defendants,
                                                        C.A. No. l 7-cv-374-LPS
              V.                                        (CONSOLIDATED)

AUROBINDO PHARMA USA INC. and
AUROBINDO PHARMA LTD.,

       Defendants and Counterclaim-Plaintiffs.


BRISTOL-MYERS SQUIBB COMP ANY and
PFIZER INC.,

       Plaintiffs and Counterclaim-Defendants,
                                                        C.A. No. l 7-cv-379-LPS
              V.

MYLAN PHARMACEUTICALS INC.,

       Defendant and Counterclaim-Plaintiff.



                                     ff'ftot'O~
        At Wilmington this \   '{t    of November, 2018, consistent with the Memorandum

 Opinion and Order entered on October 18, 2018 (D.I. 382 and D.I. 383 in C.A. No. 17-374-LPS;

 D.I. 69 and D.I. 70 in C.A. No. 17-379-LPS), IT IS HEREBY ORDERED that C.A. No. 17-

 379-LPS is DISMISSED WITHOUT PREJUDICE


                                                  -   1"""""'J\--=-~ f}~
                                                  Hon. Leonald P. Stark ~  '\
                                                  CHIEF UNITED ST ATES DISTRICT JUDGE




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